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              Sheet 1


                                           UNITED STATES DISTRICT COURT
                                                          Southern District of Texas
                                                              Holding Session in Laredo

            UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                            V.
                      LEONEL CANALES
                                                                             CASE NUMBER: 5:14CR00579-001
                                                                             USM NUMBER: 64103-179

 See Additional Aliases.                                                    Roberto Balli
                                                                             Defendant's Attorney
THE DEFENDANT:
 pleaded guilty to count(s) one on December 5, 2014
 pleaded nolo contendere to count(s)
    which was accepted by the court.
 was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:

Title & Section               Nature of Offense                                                            Offense Ended               Count
18 U.S.C. §§ 922(g)(1)        Possession of a firearm by a convicted felon                                 06/17/2014                  One
and 924(a)(2)


   See Additional Counts of Conviction.

    The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

 The defendant has been found not guilty on count(s)

 Count(s)                                                      is  are dismissed on the motion of the United States.
     It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.




                                                                             April 29, 2015
                                                                             Date of Imposition of Judgment


                                                                             ReservedForJudgeSignature
                                                                             Signature of Judge

                                                                             GEORGE P. KAZEN
                                                                             SENIOR U. S. DISTRICT JUDGE
                                                                             Name and Title of Judge

                                                                             May 11, 2015
                                                                             ReservedForSignDate
                                                                             Date



                                                                                                                                             GAG    |AAV
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              Sheet 2 -- Imprisonment
                                                                                                                       Judgment -- Page 2 of 6
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                                                              IMPRISONMENT

    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 60 months, to be served consecutive and in addition to 24 months imposed in Case Number 5:06CR01000-002, for a total term of
              84 months.
The defendant was advised of the right to appeal the sentence, and reminded he waived the right to appeal.

   See Additional Imprisonment Terms.

 The court makes the following recommendations to the Bureau of Prisons:
     That the defendant participate in a comprehensive drug treatment program while incarcerated.
 The defendant is remanded to the custody of the United States Marshal.

 The defendant shall surrender to the United States Marshal for this district:
   at                   a.m.  p.m. on                            .
   as notified by the United States Marshal.
 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
   before 2 p.m. on                                                .
   as notified by the United States Marshal.
   as notified by the Probation or Pretrial Services Office.


                                                                  RETURN

I have executed this judgment as follows:




    Defendant delivered on _______________________________ to ___________________________________

at ______________________________, with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL

                                                                    By
                                                                                               DEPUTY UNITED STATES MARSHAL
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               Sheet 3 -- Supervised Release
                                                                                                                                                 Judgment -- Page 3 of 6
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                                                            SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: 3 years.

    See Additional Supervised Release Terms.

     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court. (for offenses committed on or after September 13, 1994)
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
    The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
    The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act
     (42 U.S.C. § 16901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state registration in
     which he or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable)
    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
      If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
    See Special Conditions of Supervision.
1)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)   the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
     each month;
3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)   the defendant shall support his or her dependents and meet other family responsibilities;
5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
     acceptable reasons;
6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
     controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
     a felony, unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
    contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
    permission of the court; and
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
    record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
    defendant's compliance with such notification requirement.
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              Sheet 3C -- Supervised Release
                                                                                                                             Judgment -- Page 4 of 6
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                                           SPECIAL CONDITIONS OF SUPERVISION

The defendant shall perform 100 hours of community service as approved by the probation officer to be completed within the first year of
supervised release.

The defendant shall participate in a program, inpatient or outpatient, for the treatment of drug and/or alcohol addiction, dependency or abuse
which may include, but not be limited to urine, breath, saliva and skin testing to determine whether the defendant has reverted to the use of
drugs and/or alcohol. Further, the defendant shall participate as instructed and as deemed necessary by the probation officer and shall comply
with all rules and regulations of the treatment agency until discharged by the Program Director with the approval of the probation officer. The
defendant shall further submit to drug-detection techniques, in addition to those performed by the treatment agency, as directed by the
probation officer. The defendant will incur costs associated with such drug/alcohol detection and treatment, based on ability to pay as
determined by the probation officer.




   See Additional Special Conditions of Supervision.
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              Sheet 5 -- Criminal Monetary Penalities
                                                                                                                              Judgment -- Page 5 of 6
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                                               CRIMINAL MONETARY PENALTIES

   The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                  Assessment                         Fine                               Restitution
TOTALS                            $100.00

   See Additional Terms for Criminal Monetary Penalties.

 The determination of restitution is deferred until                              . An Amended Judgment in a Criminal Case (AO 245C)
    will be entered after such determination.

 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal payees must be paid
    before the United States is paid.

Name of Payee                                                             Total Loss*      Restitution Ordered              Priority or Percentage




   See Additional Restitution Payees.
TOTALS                                                                       $0.00                       $0.00

 Restitution amount ordered pursuant to plea agreement $

 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
    fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
    to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
    the interest requirement is waived for the  fine  restitution.
    the interest requirement for the  fine  restitution is modified as follows:

 Based on the Government's motion, the Court finds that reasonable efforts to collect the special assessment are not likely to be effective.
    Therefore, the assessment is hereby remitted.

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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               Sheet 6 -- Schedule of Payments
                                                                                                                                   Judgment -- Page 6 of 6
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                                                            SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A  Lump sum payment of $100.00                       due immediately, balance due
        not later than                                  , or
        in accordance with  C,  D,  E, or  F below; or
B  Payment to begin immediately (may be combined with  C,  D, or  F below); or
C  Payment in equal              installments of              over a period of                                      , to commence           days
          after the date of this judgment; or
D    Payment in equal                    installments of                       over a period of                     , to commence           days
          after release from imprisonment to a term of supervision; or
E    Payment during the term of supervised release will commence within                   days after release from imprisonment. The court
          will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F    Special instructions regarding the payment of criminal monetary penalties:
           Payable to: Clerk, U.S. District Court
                       1300 Victoria, Ste. 1131
                       Laredo, TX 78040

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 Joint and Several
Case Number
Defendant and Co-Defendant Names                                                   Joint and Several                Corresponding Payee,
(including defendant number)                                  Total Amount             Amount                        if appropriate




   See Additional Defendants and Co-Defendants Held Joint and Several.

 The defendant shall pay the cost of prosecution.
 The defendant shall pay the following court cost(s):

 The defendant shall forfeit the defendant's interest in the following property to the United States:

   See Additional Forfeited Property.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

     May 11, 2015
